            Case 4:16-cv-05108-LRS                    ECF No. 1-2          filed 08/04/16    PageID.14 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                    Eastern District
                                                    __________ DistrictofofWashington
                                                                            __________

BERTHA ARANDA GLATT                                                    )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No.
                                                                       )
CITY OF PASCO, MATT WATKINS, REBECCA                                   )
FRANCIK, BOB HOFFMANN, TOM LARSEN, SAUL                                )
MARTINEZ, and AL YENNEY in their official capacity.                    )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Rebecca Francik, Pasco City Council Member
                                           3114 W. Wilcox Drive
                                           Pasco, Washington 99301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Emily Chiang, WSBA No. 50517
                                           La Rond Baker, WSBA No. 43610
                                           Breanne Schuster, WSBA No. 49993 (E.D. Wash. Admission Pending)
                                           ACLU of Washington Foundation
                                           901 5th Avenue, Suite 630
                                           Seattle, Washington 98164
                                           (206) 624-2184
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT




Date                                                                             SEAN F. McAVOY, Clerk
              Case 4:16-cv-05108-LRS                     ECF No. 1-2       filed 08/04/16         PageID.15 Page 2 of 2

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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

           u I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                           , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                            ; or

           u I returned the summons unexecuted because                                                                                   ; or

           u Other (specify):
                                                                                                                                                .


           My fees are $                           for travel and $                       for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.




 Date                                                            Server’s signature



                                                                 Printed name and title




                                                                 Server’s address

 Additional information regarding attempted service, etc:
